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EASTERN D:§ip§g'i"i!»»
F:L.Ee "

COMPLAINT 1
(for non-prisoner filers without lawyers) on S»Ep ` 7 A 9 5 7

STEP*!EN c. DR:FQ_
‘ UNITED sTATEs DISTRICT coURT uz..§R:»-€

EASTERN DISTRICT OF WISCONSIN

 

(Fuu name of plaintiff(§))

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v. Case Number:

(Fu]l name of defendant(s)) 1 a -‘ 0-1 z 8 6
(to be supplied by Clerk of Court)_
(' M& ~ /W /%5 LU/ Sdp»ds,‘/d

 

 

 

A. PARTIES

1. Plaintiff is a citizen of w l 5 (°_f) ILJ 5 /'/L) and resides at
(State) `

j/Qéw /\/ Q;)”i’

(Address)

(If more than one plaintiff is filing, use another piece of paper.)

2. - Defendant @€//L/`!L€//U 64 "’ /V[ /L'/$ w l` 5(’££[1/\)

\ (Name)
is (if a person or private corporation) a citizen of (/( /U l+ ead S+AL‘/'e&

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(State, if known)

and (if a person) resides at w l` § C,€) M§\` w
(Address, if known)

and (if the defendant harmed you while doing the defendant’s job)

worked for …%_LD_ZQD_U)_F€§M
M’~ l bow Ké€) w l (Employer’ s name an address if known) DQ¢`\/€

. 5 ?> Q‘l§e .
(If you need to list more defen ants, use another piece of paper.)
B. STATEMENT OF CLAIM

On the space provided on the following pages, tell:
Who violated your rights;

What each defendant did;

When they did it;

Where it happened; and

Why they did it, if you know.

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C. ]`URISDIC”HON
|]/ I am suing for a violation of federal law under 28 U.S.C. § 1331.
OR
|:| I am suing under state law. The state citizenship of the plaintiff(s) is (are)
different from the state citizenship of every defendant, and the amount of
money at stake in this case (not counting interest and costs) is

$

D. RELIEF WANTED
Describe what you want the Court to do if you win your lawsuit. Examples may

1 include an award of money or an order telling defendants to do something or to
stop doing something

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E.

IURY DEMAND

I want a jury to hear my case.

E-/YES |:| -No

I declare under penalty of perjury that the foregoing is true and correct.

Q/'n
Complaint signed this 2 day of \S' €;D+Q//VL,Q€L 20 ig .

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Respectfully Submitted,

M/L//L /?/a/u,¢mw

signature of marina U \I

9 O/ la 3 3 502{ 8
Plaintiff’s Telephone Number

 

G/Gcrm. Mctr,\a»,uu@ ;/¢M@c) . dow

Plainsff'S Email Addressl

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(Maiiing Address of Pl£nsff)

(lf more than one plaintiff, use another piece of paper.)

REQUEST TO PROCEED IN DISTRICT COURT WITHOU'I` PREPAYING THE
FILING FEE

I DO request that I be allowed to file this complaint Without paying the filing fee.
I have completed a Request to Proceed in District Court without Prepaying the
Filing Fee form and have attached it to the complaint.

I DO NOT request that I be allowed to file this complaint without prepaying the

filing fee under 28 U.S.C. § 1915,_ and I have included the full filing fee with this
complaint

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